Case 1:19-cv-02017-RGA-SRF Document 321 Filed 08/05/22 Page 1 of 18 PageID #: 13932




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

   EXELIXIS, INC.,                         )
                                           )
                     Plaintiff,            )
                                           )
         v.                                ) C.A. No. 19-2017 (RGA) (SRF)
                                           ) CONSOLIDATED
   MSN LABORATORIES PRIVATE LIMITED        )
   and MSN PHARMACEUTICALS, INC.,          )
                                           )
                     Defendants.           )


         PLAINTIFF’S REPLY POST-TRIAL BRIEF ON MSN LABORATORIES
    PRIVATE LIMITED AND MSN PHARMACEUTICALS, INC’S INFRINGEMENT OF
                          U.S. PATENT NO. 8,877,776
Case 1:19-cv-02017-RGA-SRF Document 321 Filed 08/05/22 Page 2 of 18 PageID #: 13933




                                                            Table of Contents


   I.    INTRODUCTION .................................................................................................................. 1
   II.   ARGUMENT .......................................................................................................................... 3
             A.        Testing of MSN’s API to Prove Infringement Was Appropriate and Consistent
                       With Standard Practice ........................................................................................... 3
             B.        The Accelerated Conditions Used By Dr. Munson Were Appropriate .................. 4
                       19
             C.         F-SSNMR Testing Established That Form N-2 Is Present in MSN API at the
                       Outset ...................................................................................................................... 8
             D.        MSN’s XRPD Testing Does Not Undermine Exelixis’ Proof of Infringement...... 9
             E.        MSN Will Induce Infringement of Claim 1 of the ’776 Patent ............................ 12
   III. CONCLUSION ..................................................................................................................... 13




                                                                         ii
Case 1:19-cv-02017-RGA-SRF Document 321 Filed 08/05/22 Page 3 of 18 PageID #: 13934




                                                      Table of Authorities

   Cases
                                                                                                                            Page(s)

   Astellas US LLC v. Hospira,
           C.A. No. 18-cv-1675, 2022 WL 1591277 (D. Del. May 19, 2022); appeal filed, No. 22-
           1878 (Fed. Cir. June 7, 2022) ........................................................................................... 12

   Bristol-Myers Squibb Co. v. Aurobindo Pharma USA Inc.,
           477 F. Supp. 3d 306 (D. Del. 2020) aff’d sub nom. Bristol-Myers Squibb Co. v.
           Sigmapharm Lab’ys, LLC, 858 F. App’x 359 (Fed. Cir. 2021) .......................................... 3

   H. Lundbeck A/S v. Lupin Ltd.,
         2021 WL 4944963 (D. Del. Sep. 30, 2021) appeal filed, No. 22-1194 (Fed. Cir. Nov. 29,
         2021) and appeal filed, No. 22-1208 (Fed. Cir. Dec. 1, 2021) ....................................... 2, 8

   Martek Biosciences Corp. v. Nutrinova, Inc.,
         579 F.3d 1363, 1372-74 (Fed. Cir. 2009) ....................................................................... 1, 3

   Novartis Pharms. Corp. v. Par Pharmaceutical, Inc.,
          48 F. Supp. 3d 733 (D. Del. 2014); aff’d sub nom. Novartis Pharms. Corp. v. Watson
          Lab’ys, Inc., 611 F. App’x 988 (Fed Cir. 2015) ............................................................. 3, 4




                                                                   iii
Case 1:19-cv-02017-RGA-SRF Document 321 Filed 08/05/22 Page 4 of 18 PageID #: 13935




   I. INTRODUCTION

          The evidence presented at trial established four critical and unrefuted facts that prove

   MSN’s Tablets contain Form N-2.

             First, 13C-SSNMR testing demonstrated Form N-2 in MSN’s API after four weeks and

              eight weeks of exposure to accelerated conditions. MSN does not dispute this.

             Second, more sensitive    19
                                             F-SSNMR testing (testing specifically described in the

              specification) (see, e.g., JTX-001 FIG 14, col. 11, ll. 17-18) demonstrated Form N-2 in

              MSN’s API after only one week of exposure to accelerated conditions. MSN does not

              dispute this.

             Third, variable rates of conversion from Form S to Form N-2 among the three lots

              tested using 19F-SSNMR demonstrated that Form N-2 was present in MSN’s API at the

              outset (i.e., before accelerated conditions). Although MSN does not concede this point,

              it ignores the unrebutted evidence Dr. Munson provided on this issue.

             Fourth, if Form N-2 is present in MSN’s API, then it is necessarily present in MSN’s

              Tablets. It does not disappear. MSN does not and cannot dispute this logic, logic

              predicated upon basic scientific principles.

          MSN’s attempts to respond to Exelixis’ infringement proof miss the mark. MSN makes

   much of the fact that there is no direct testing evidence showing the presence of Form N-2 in

   MSN’s Tablets. But MSN concedes, as it must, that an infringement case may be established using

   circumstantial evidence and the case law consequently holds that testing of a final drug product is

   not required to prove infringement. MSN Rebuttal at 9; see also Martek Biosciences Corp. v.

   Nutrinova, Inc., 579 F.3d 1363, 1372-74 (Fed. Cir. 2009). Indeed, testing the API to determine




                                                     1
Case 1:19-cv-02017-RGA-SRF Document 321 Filed 08/05/22 Page 5 of 18 PageID #: 13936




   the polymorphic stability of the API in the tablets is consistent with the practices of both parties in

   this case.

           MSN also attacks Dr. Munson’s use of accelerated conditions, accusing him of artificially

   creating Form N-2 in the MSN API.             MSN’s criticism ignores the substantial evidence

   demonstrating that the accelerated conditions used by Dr. Munson (i) are standard in the industry,

   (ii) were used by both Exelixis and MSN for the same purpose (i.e., to assess the polymorphic

   stability of their respective cabozantinib products), and (iii) are consistent with the heat and

   humidity ranges to which MSN’s API is actually exposed to in the real world. MSN cannot

   therefore shoehorn the facts of this case into those at issue in Lundbeck, where testing was not

   representative of conditions to which the API would be exposed and samples were mishandled.

   H. Lundbeck A/S v. Lupin Ltd., C.A. No. 18-88-LPS, 2021 WL 4944963 (D. Del. Sept. 30, 2021),

   appeal filed, No. 22-1194 (Fed. Cir. Nov. 29, 2021) and appeal filed, No. 22-1208 (Fed. Cir. Dec.

   1, 2021).

           Similarly, MSN’s suggestion that Exelixis’ reliance on the “rate of conversion” is an

   unsupported “new[]” theory is simply wrong. MSN Rebuttal at 17-18. Dr. Munson testified

   unequivocally that the variable rates of conversion across three different lots of MSN API tested

   using 19F SSNMR demonstrated that Form N-2 was present in those samples from the outset (i.e.,

   before accelerated conditions). FOF ¶¶ 60-61. MSN simply chose not to respond with its own

   testing or even with rebuttal expert testimony. Dr. Munson’s testimony on this issue was

   unrebutted.

           Finally, MSN contends that its own XPRD testing shows “the lack of Form N-2 in MSN’s

   Tablets.” MSN Rebuttal at 9. But that is again simply incorrect because the XPRD testing on




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Case 1:19-cv-02017-RGA-SRF Document 321 Filed 08/05/22 Page 6 of 18 PageID #: 13937




   which MSN seeks to rely (i) is not the only way to establish infringement of the asserted claim;

   and (ii) was not designed to either detect or rule out the presence of Form N-2.

          In the end, MSN, as it admits, attempted to develop a generic version of Exelixis’ lifesaving

   cabozantinib by designing around the asserted claim. It was unsuccessful; it could not both

   produce a generic version of that drug that would satisfy the FDA and provide the therapeutic

   benefits of that drug without producing a product containing Form N-2. To prove that MSN failed,

   required disciplined and detailed testing by Exelixis to demonstrate the presence of Form N-2 in

   the MSN API at the outset, and the increasing presence of Form N-2 in MSN’s Tablets over time.

   That is precisely what the evidence demonstrates, and that proves infringement.

   II. ARGUMENT

          A.      Testing of MSN’s API to Prove Infringement Was Appropriate and
                  Consistent With Standard Practice

          MSN does not (and cannot) dispute that “Exelixis is free to try to prove up its case using

   circumstantial evidence.” MSN Rebuttal at 9. Indeed, it is well-settled that direct testing of the

   finished product is not required, including in the case of claims directed to pharmaceutical

   compositions. See, e.g., Martek Biosciences Corp., 579 F.3d at 1372-74; see also Bristol-Myers

   Squibb Co. v. Aurobindo Pharma USA Inc., 477 F. Supp. 3d 306, 346-47 (D. Del. 2020) (finding

   infringement of pharmaceutical composition claim where there was no testing of the tablet), aff’d

   sub nom. Bristol-Myers Squibb Co. v. Sigmapharm Lab’ys, LLC, 858 F. App’x 359 (Fed. Cir.

   2021). And, for good reason. Common sense dictates that when it is “standard practice” to

   identify presence of the claimed component prior to formulation—identifying the infringing

   component in the finished product is not required. Novartis Pharms. Corp. v. Par Pharm., Inc.,

   48 F. Supp. 3d 733, 743-44 (D. Del. 2014) (testing identifying the claimed component prior to its

   inclusion in the formulated pharmaceutical composition was sufficient because there were



                                                   3
Case 1:19-cv-02017-RGA-SRF Document 321 Filed 08/05/22 Page 7 of 18 PageID #: 13938




   “practical difficulties” in testing the formulated pharmaceutical composition), aff’d sub nom.

   Novartis Pharms. Corp. v. Watson Lab’ys, Inc., 611 F. App’x 988 (Fed Cir. 2015).

          Accordingly, MSN’s assertion that the lack of direct evidence of Form N-2 in the MSN

   Tablets “should nearly close the door on the infringement inquiry,” (MSN Rebuttal at 8-9), is

   wrong as a matter of law and an invitation to legal error. The undisputed evidence at trial

   established that the standard practice for identifying crystalline content is to do so before the API

   is formulated into a tablet. Neither MSN nor Exelixis tested for the presence of Form N-2 after

   the API was formulated into a tablet. FOF ¶ 47. Rather, the only stage at which either company

   conducts testing on its API is before tablet formulation, i.e., they test the API. FOF ¶ 47. This is

   due to the practical difficulties of testing for a crystalline form in a tablet after the API has been

   formulated with other ingredients. As Dr. Munson explained, more than 75% of MSN’s Tablets

   consist of material that is not cabozantinib. FOF ¶ 64. And the remaining percentage of MSN’s

   Tablets comprises at least three different crystalline forms of cabozantinib.1 FOF ¶ 64. Signals

   from these other materials and multiple crystalline forms of cabozantinib in the MSN Tablets thus

   interfered with Dr. Munson’s ability to clearly discern a signal for Form N-2. FOF ¶ 64. Under

   such circumstances, just as in Novartis, evidence showing Form N-2 in MSN’s API is sufficient

   to establish infringement. Novartis Pharms. Corp., 48 F. Supp. 3d at 743-44.

          B.      The Accelerated Conditions Used By Dr. Munson Were Appropriate

          Having conceded that 13C-SSNMR testing shows that Form N-2 is present in MSN’s API

   after 4 and 8 weeks, MSN argues that the accelerated conditions used by Dr. Munson are not

   “representative” and created a “perfect storm” that caused N-2 to form. MSN Rebuttal at 19-21.



   1
    Dr. Munson testified that his ability to detect Form N-2 was not only obscured by Form S, but
   by at least one different form of cabozantinib that is neither Form S nor Form N-2. FOF ¶ 51.


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Case 1:19-cv-02017-RGA-SRF Document 321 Filed 08/05/22 Page 8 of 18 PageID #: 13939




   In fact, the evidence established that accelerated conditions are commonly used in the

   pharmaceutical industry for testing the stability of crystalline forms of API, including polymorphic

   stability. FOF ¶¶ 52-56.

          First, MSN’s suggestion that it was unnecessary for Dr. Munson to use accelerated

   conditions at all because the MSN API samples were already “aged,” (MSN Rebuttal at 22-23), is

   incorrect. The API that Dr. Munson received from MSN had been sitting in a refrigerator for 36

   months. However, as the MSN API does not have an expiry date,2 the storage of MSN API

   samples for 36 months under refrigeration does not indicate that the API was “aged” or “expired”.

   Furthermore, refrigerated storage does not represent the conditions and opportunities for

   conversion from formulation to manufacturing to consumption that MSN’s API will experience in

   the real world. In fact, the evidence showed that, in the real world, the MSN API will be taken

   out of the refrigerator, be exposed to the environment multiple times during the process of

   manufacturing the API into a tablet, and the transportation of the API from India to the United

   States, where it will sit on a shelf for some period of time before being further transported and then

   dispensed to patients (who will also store it for some period of time). FOF ¶¶ 33-35. To understand

   how the MSN API will behave over time and under variable conditions as it is incorporated into

   the MSN Tablets and travels the stream of commerce, Dr. Munson used accelerated conditions

   consistent with typical industry practices, including by Exelixis and MSN. FOF ¶¶ 19-21, PTX-

   739 (“The purpose of stability testing is to provide evidence on how the quality of a drug substance

   or drug product varies with time . . .”); Tr. 59:14-60:12 (Shah) (describing submission of


   2
     The proposed retest period is 30 months. FOF ¶ 34. This does not mean that MSN’s API has a
   shelf life of 30 months; it simply means that MSN’s API must be retested for stability at that time.
   Id. The accelerated conditions used by Dr. Munson are relevant for observing the behavior of the
   API over its entire shelf life, which may be significantly longer than its initial retest period,
   including when it is stored at temperatures significantly higher than a refrigerator.


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Case 1:19-cv-02017-RGA-SRF Document 321 Filed 08/05/22 Page 9 of 18 PageID #: 13940




   accelerated stability testing data submission to the FDA); PTX-194 (describing MSN stability

   testing using 40°C/75% relative humidity (RH) for three months); Reply FOF ¶ 1 (“accelerated

   conditions are conditions that were going to be slightly higher humidity, slightly higher

   temperature, something that may be representative of potential storage conditions or also

   manufacturing conditions”).

          Second, MSN’s assertion that accelerated conditions are not used to test for “polymorphic

   stability” (MSN Rebuttal at 19) is flatly contradicted by the record. The evidence at trial

   established that both Exelixis and MSN use accelerated conditions to test for polymorphic stability

   in the ordinary course. Indeed, in a document titled “Polymorphic Stress Study,” MSN used higher

   heat and higher humidity than Dr. Munson did to test for the polymorphic stability of its

   cabozantinib API. FOF ¶ 44; see also PTX-180 at 2 (“Purpose: To have a report for the

   polymorphic stress study of Cabozantinib (S)-Malate Form -S”; “Scope: To know the polymorphic

   consistency under stress study of Cabozantinib (S)-Malate Form S”). Likewise, Exelixis tested its

   cabozantinib API under accelerated conditions similar to those used by Dr. Munson. FOF ¶¶ 54,

   55. As Dr. Shah testified, such testing was “extremely important” to ensure that Form N-2 would

   be stable in a real-world setting. FOF ¶ 55. These studies by both MSN and Exelixis used

   accelerated conditions that were similar or identical to those used by Dr. Munson.           They

   conclusively establish that Dr. Munson’s accelerated conditions were reasonable and appropriate.3

          Third, MSN ignores the real-world evidence in contending that the heat and humidity

   parameters used by Dr. Munson were not representative of conditions to which its API is exposed.



   3
    For this reason, MSN’s reliance on Glaxo is misplaced. Dr. Munson did not “adulterate[]” (MSN
   Rebuttal at 2, 5 and 19) MSN’s API. He tested it to determine how it would behave in the real
   world over time—the same way that MSN and Exelixis each tested its own API during the
   development process.


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Case 1:19-cv-02017-RGA-SRF Document 321 Filed 08/05/22 Page 10 of 18 PageID #: 13941




    MSN Rebuttal at 23-26. For example, contrary to MSN’s assertion that its API never endures

    relative humidity above 45-55%, Dr. Munson testified that the MSN API is wet (i.e., exposed to

    100% relative humidity) at least three times during MSN’s tablet manufacturing process including:

    (i) during the wet granulation step; (ii) when the granules enter the drying stage; and (iii) at the

    coating step, when the API is exposed to a liquid (i.e., 100% relative humidity) substance. Reply

    FOF ¶ 3. MSN never presented any contrary evidence. Similarly, MSN’s assertions regarding the

    temperature used in its tablet manufacturing ignores two key undisputed facts: (i) that MSN’s

    ANDA manufacturing specifications plainly allow for temperatures as high as 40°C; and (ii) that

    the actual inlet temperature of the hot air that is applied to MSN’s granulated API is 60°C.4 FOF

    ¶¶ 38-41. Of course, those are higher temperatures than the 40°C used by Dr. Munson. Moreover,

    while MSN argues that Dr. Munson should have used different accelerated conditions (MSN

    Rebuttal at 29-31), it presented and cites no evidence whatsoever that using different conditions,

    such as 25°C/60% relative humidity (instead of 40°C/75% relative humidity) or sealed containers,

    would have made any difference. Indeed, as Dr. Shah testified, Exelixis tested its cabozantinib

    API under a variety of accelerated conditions, including at temperatures and relative humidity

    lower than and higher than used by Dr. Munson, in both sealed and unsealed containers—and got

    the same result each time. Reply FOF ¶ 3. MSN’s suggestion that applying different accelerated

    conditions would have yielded different results is purely speculative.

           Finally, MSN’s contention that the accelerated conditions created a “perfect storm” that

    caused the formation of Form N-2 in MSN’s API is based solely on Dr. Steed’s conjecture and

    contradicted by the record. MSN Rebuttal at 19-21, 36. As explained in Section II.C., the evidence


    4
      Based on this inlet temperature, Dr. Munson testified that the API could also experience
    temperatures at the drying bed up to 60°C during other portions of the manufacturing process.
    Reply FOF ¶ 4.


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Case 1:19-cv-02017-RGA-SRF Document 321 Filed 08/05/22 Page 11 of 18 PageID #: 13942




    established that Form N-2 is present in MSN’s API from the outset. The evidence also established

    myriad reasons why MSN’s Form S is uncontrolled and unstable, and therefore readily converts

    to Form N-2: (i) Form S has a lower and broader melting range than Form N-2; (ii) Form S is

    hygroscopic, which Dr. Steed admits makes it more likely to convert to other forms; (iii) Form S

    has a lower initial transition temperature; and (iv) Form S is more soluble than Form N-2. FOF ¶¶

    36-37.5

              This case is not analogous to Lundbeck, as MSN repeatedly suggests. MSN Rebuttal at 3,

    16 (n.2), 17 (n.4), 21, 33-34. Neither Lundbeck nor any other case has ever held that accelerated

    conditions are per se improper or cannot be used to support an infringement opinion. Rather, under

    the very specific facts of Lundbeck, accelerated conditions of 40°C and 75% relative humidity

    were criticized because they were higher than what the ANDA product was exposed to during the

    manufacturing processes. Lundbeck, 2021 WL 4944963 at *97 (noting that the ANDA product

    was exposed to “not more than 25°C and not more than 45% relative humidity”). That simply is

    not the case here. Furthermore, the court in Lundbeck found that the plaintiffs had mishandled the

    Sigmapharm API samples prior to testing, (Lundbeck, 2021 WL 4944963, at *98-99) whereas

    MSN raised no similar concerns regarding Dr. Munson’s sample handling (FOF ¶48).

              C.     19F-SSNMR    Testing Established That Form N-2 Is Present in MSN API at
                     the Outset

              MSN takes issue with Dr. Munson’s opinion that N-2 is present in MSN’s API at the outset,

    claiming that his “rate of conversion” theory is new and unsupported. MSN Rebuttal at 17-18.




    5
      Dr. Steed failed to provide any basis for or explanation of his speculative one sentence of
    testimony that there are stabilizing excipients in the formulated API that would prevent conversion
    to Form N-2. MSN Rebuttal at 20.


                                                      8
Case 1:19-cv-02017-RGA-SRF Document 321 Filed 08/05/22 Page 12 of 18 PageID #: 13943




    MSN’s criticisms are meritless. Exelixis provided expert testimony and documentary evidence on

    this issue, which MSN and its expert failed to rebut.

           Dr. Munson compared 19F-SSNMR data from three lots of MSN API. FOF ¶ 60. In doing

    so, he observed that the rate of conversion to Form N-2 was different for each lot.6 FOF ¶ 60.

    Based on that observation, Dr. Munson concluded that Form N-2 must be present in the MSN API

    at the outset, as only that could explain the different rates in the formation of N-2 over time. FOF

    ¶¶ 62-63. The relevant 19F SSNMR spectra, which MSN criticizes Dr. Munson for not addressing

    (MSN Rebuttal at 17), were admitted as exhibits with his direct testimony and can be found at

    PTX-829 and PTX-785B. Dr. Munson clearly explained his analysis of the spectra to the court:

                   [W]e looked at Lot 7, we looked at Lot 8, and we looked at Lot 9.
                   They all had different rates of conversion which tells me that there
                   are different amounts of the Form N-2 that was present initially in
                   those three different lots. And, in fact, Lot 9 converted about half
                   the rate of Lot 7 did. And that’s a good indication of the fact that
                   you’ve got different rates of conversion indicating different levels
                   of the Form N-2 initially present.

           Trial Tr. 67:8:23 (emphasis added); see also Trial Tr. 158:11-15 (“Q: If there were no N-2

    present in the samples at the beginning, would you see different rates of conversion in these slides?

    A. No. In fact, the rate of conversions would be the same.”); PTX-829 and PTX-785B. That does

    not render—as MSN suggests—this evidence conclusory or speculative. Dr. Munson presented a

    concrete opinion supported by SSNMR spectra and testimony explaining the basis for his opinion.

    MSN failed to rebut this opinion with any contrary evidence or testimony from its own expert, Dr.

    Steed. That leaves Dr. Munson’s opinion unrebutted.

           D.      MSN’s XRPD Testing Does Not Undermine Exelixis’ Proof of Infringement


    6
      MSN criticizes Dr. Munson for not quantifying the amount of N-2 present in each of the three
    MSN lots. MSN Rebuttal at 18. Absolute quantification of N-2 was not necessary for Dr. Munson
    to observe the rate of conversion of MSN API to Form N-2. FOF ¶ 60.


                                                     9
Case 1:19-cv-02017-RGA-SRF Document 321 Filed 08/05/22 Page 13 of 18 PageID #: 13944




           MSN’s expert admitted that MSN’s XRPD testing “was not designed to rebut” Dr.

    Munson’s SSNMR testing. FOF ¶ 67. Ignoring that concession from its expert, MSN now tries

    to recast its XRPD testing as “direct evidence … proving the lack of Form N-2.” MSN Rebuttal

    at 9. That is incorrect and contradicted by the record.

           First, claim 1 of the ’776 patent provides alternative ways of establishing the presence of

    Form N-2. Either XRPD testing or 13C-SSNMR testing is sufficient to prove infringement. FOF

    ¶ 24. MSN cannot avoid the plain language of the claim. An XRPD test result that does not detect

    Form N-2 is merely an alternative test; it does not undermine or contradict 13C SSNMR test results

    establishing its presence.

           Second, it is evident on the face of the XRPD test results on which MSN seeks to rely that

    they were not designed to (nor can they) rule out the presence of Form N-2. As an initial matter,

    the graphics in MSN’s brief compare XRPD testing of MSN’s Tablets and API with XRPD tests

    of pure Form N-2 (MSN Rebuttal at 7, 10).7 That comparison does not demonstrate that MSN’s

    XRPD testing was sufficiently sensitive to determine whether any amount of Form N-2 is present

    in the MSN Tablets, which is all the asserted claim requires. FOF ¶ 24. Exelixis has never

    contended that MSN’s ANDA product contains solely Form N-2 and no other crystalline forms,

    so it proves nothing to establish that MSN’s Tablets and API are not the same as pure Form N-2.

           Moreover, MSN never established that its XRPD testing would be sensitive enough to

    detect Form N-2 in MSN’s Tablets. Indeed, the evidence was to the contrary. For example, while

    MSN touts XRPD as the “gold standard” (MSN Rebuttal at 4), both Dr. Munson and Dr. Steed


    7
      MSN should be prohibited from presenting its analysis on page 7-8 of its Rebuttal Brief, because
    that analysis was not included in Dr. Steed’s report, and when Dr. Steed was asked in his deposition
    whether he was going to provide an opinion based on the identified peaks for Form S from the
    MSN patent (DTX-495), he said he was not. Ex. 1, Steed Dep. Tr. at 397:18-398:8. This evidence
    was objected to at trial. Trial Tr. at 293:18-296:15.


                                                    10
Case 1:19-cv-02017-RGA-SRF Document 321 Filed 08/05/22 Page 14 of 18 PageID #: 13945




    agreed that there are circumstances where SSNMR is the preferred technique to identify a

    particular crystalline form—especially in situations, like here, where there are multiple forms in

    the sample. FOF ¶ 16. As Dr. Munson explained, SSNMR is more suitable than XRPD here

    because Form N-2 is initially present in smaller amounts in a sample containing a larger amount

    of Form S. Opening Br. at 21; FOF ¶¶ 16, 68.8 Unlike XRPD, SSNMR is able to filter the signal

    from Form S, thereby enhancing the ability to detect Form N-2 when Form S is also present.

           Additionally, as Dr. Munson explained, MSN’s XRPD data was not “sufficiently

    sensitive,” in part because it associated very broad peaks with MSN’s Form S. FOF ¶ 68. The

    breadth of the Form S peaks in the MSN data—combined with the inability to filter out Form S

    using XRPD—does not allow one to conclude one way or another whether Form N-2 is present.

    FOF ¶ 68. In an effort to address the shortcomings of its XRPD evidence, MSN argues that peak

    overlap is not a “valid concern” with XRPD. MSN Rebuttal at 8. But this assertion relies upon a

    general statement by Dr. Steed regarding XRPD testing where some regions of the spectrum do

    not overlap. Tr. 285:18-286:9 (Steed). In making those statements, Dr. Steed did not address the

    specific XRPD testing at issue here, which features very broad peaks for Form S as discussed by

    Dr. Munson. Id. MSN thus failed to present any evidence that its XRPD testing would be capable

    of distinguishing between Form N-2 and Form S in a mixture. MSN’s XRPD testing therefore

    does not rebut Dr. Munson’s SSNMR testing or his opinion that the MSN API material is so highly

    unstable and uncontrolled that it contains multiple crystalline forms, including Form S, Form N-

    2, and yet another crystalline form that interferes with the ability to detect Form N-2.




    8
     As explained above, infringement can be established based on the presence of any amount of
    Form N-2. MSN does not argue otherwise.


                                                     11
Case 1:19-cv-02017-RGA-SRF Document 321 Filed 08/05/22 Page 15 of 18 PageID #: 13946




           Contrary to MSN’s assertion, this case is not analogous to Astellas. MSN Rebuttal at 11

    (citing Astellas US LLC v. Hospira, C.A. No. 18-cv-1675, 2022 WL 1591277 (D. Del. May 19,

    2022), appeal filed, No. 22-1878 (Fed. Cir. June 7, 2022)). In that case, both the DMF and ANDA

    release specifications required an XRPD analysis that (1) showed a pattern that conforms to the

    Form G reference pattern; and (2) showed that “no peaks are observed for other solid forms.”

    Astellas, 2022 WL 1591277, at *28. Thus, the specification expressly excluded the crystalline

    form of the asserted claim in that case by stating that specific peaks associated with that form must

    not be present. Id. By contrast, MSN’s specification in this case does no such thing; it does not

    require the absence of any XRPD peaks associated with Form N-2. Instead, all that it requires is

    the presence of four peaks associated with Form S.9 FOF ¶ 47. Because Form S and Form N-2

    can both be present in the same sample, and may actually overlap with one another, verifying the

    presence of peaks associated with Form S by XRPD alone does not and cannot rule out the

    presence of Form N-2.

           E.      MSN Will Induce Infringement of Claim 1 of the ’776 Patent

           MSN’s only response to Exelixis’ proof of indirect infringement is that (i) there is no direct

    infringement; and (ii) MSN had no knowledge of potentially infringing uses because its internal

    studies concluded that “Form S is stable under [all] stress study conditions.” MSN Rebuttal at 34-

    35. For all the reasons set forth above and in Exelixis’ opening brief, MSN has knowledge of

    and/or is willfully blind to the fact that there is direct infringement of claim 1 of the ’776 patent

    because the MSN Tablets contain Form N-2. FOF ¶¶ 69-71. Accordingly, MSN will induce


    9
      To the extent MSN attempts to rely on deposition testimony from Dr. Reddy to suggest that a
    pattern-to-pattern comparison is required (MSN Rebuttal at 11-12), that testimony cannot alter the
    plain language of the specification, which contains no such requirement. Moreover, when
    questioned in his deposition, Dr. Reddy testified that he did not “know exactly how they do the
    comparison.” Tr. 254:4-6 (Reddy).


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Case 1:19-cv-02017-RGA-SRF Document 321 Filed 08/05/22 Page 16 of 18 PageID #: 13947




    infringement of claim 1 of the ’776 patent when it manufactures and supplies the MSN ANDA

    Products to Zydus for distribution in the United States.


    III.    CONCLUSION

            For the reasons above, Plaintiff respectfully requests that the Court find that making, using,

    offering to sell, or selling in the United States, or importing into the United States MSN’s Tablets

    will literally infringe the asserted claim of the ’776 patent and, therefore, that the submission of

    MSN’s ANDA infringes that claim under 35 U.S.C. § 271(e)(2)(A) and that upon FDA approval

    MSN will induce infringement of that claim under 35 U.S.C. § 271(b). Plaintiff further requests

    that the Court enter an order pursuant to 35 U.S.C. § 271(e)(4)(A) providing that the effective date

    of any approval of MSN’s ANDA shall be a date which is not earlier than the latest expiration date

    of the Patents-in-Suit, including any extensions and/or additional periods of exclusivity to which

    Plaintiff is or becomes entitled, and an order permanently enjoining MSN, its affiliates,

    subsidiaries, and each of its officers, agents, servants and employees and those acting in privity or

    concert with them, from making, using, offering to sell, or selling in the United States, or importing

    into the United States MSN’s Tablets until after the latest expiration date of the Patents-in-Suit,

    including any extensions and/or additional periods of exclusivity to which Plaintiff is or becomes

    entitled.10




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       Plaintiff’s Complaint also seeks any appropriate relief under 35 U.S.C. § 285. See Compl., D.I.
    1 in C.A. No. 19-cv-02017, Prayer for Relief at 9 (Oct. 29, 2019). No party has yet made a motion
    for fees, and, at this point, that issue is premature. Plaintiff may seek fees as permitted by the
    Federal Rules.


                                                     13
Case 1:19-cv-02017-RGA-SRF Document 321 Filed 08/05/22 Page 17 of 18 PageID #: 13948




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    August 5, 2022




                                         14
Case 1:19-cv-02017-RGA-SRF Document 321 Filed 08/05/22 Page 18 of 18 PageID #: 13949




                                   CERTIFICATE OF SERVICE

           I hereby certify that on August 5, 2022, I caused the foregoing to be electronically filed

    with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

    registered participants.

           I further certify that I caused copies of the foregoing document to be served on August 5,

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